a      Case: 6:17-cv-00157-KKC-HAI Doc #: 31-1 Filed: 01/30/18 Page: 1 of 4 - Page ID#: 362


    A0 88A (Rev. 02/14) Subpoena to Testify at a Deposition in a Civil Action


                                           UNITED STATES DISTRICT COURT
                                                                                for the
                                                               Eastern District of Kentucky

                       The Estate of Lisa Noble
                                                                                   )
                                   P1aint                                          )
                                      V.                                           )      Civil Action No.     6:17-1 57-KKC
           Beacon Transport, LLC and Terran Cooper                                 )
                                                                                   )
                                  Defendant                                        )
                                 SUBPOENA TO TESTIFY AT A DEPOSITION IN A CIVIL ACTION

     To:                                                                  Toby Curry
                                                               75 Wildwood Drive, Corbin, Kentucky
                                                           (Name ofperson to whom this subpoena is directed)

             Testimony. YOU ARE COMMANDED to appear at the time, date, and place set forth below to testify at a
    deposition to be taken in this civil action. If you are an organization, you must designate one or more officers, directors,
    or managing agents, or designate other persons who consent to testify on your behalf about the following matters, or
    those set forth in an attachment:



     Place: Jewell Law Office, PLLC                                                        Date and Time:
            138 Court Square                                                                                 02/22/2018 10’OO am
            Barbourville, Kentucky 40906

              The deposition will be recorded by this method:                     by a stenographer and by videotaping

           1 Production:    You, or your representatives, must also bring with you to the deposition the following documents,
              electronically stored information, or objects, and must permit inspection, copying, testing, or sampling of the
              material: All materials described in the attached Exhibit A.




            The following provisions of Fed. R. Civ. P. 45 are attached Rule 45(c), relating to the place of compliance;
                                                                                           —




    Rule 45(d), relating to your protection as a person subject to a subpoena; and Rule 45(e) and (g), relating to your duty to
    respond to this subpoena and the potential consequences of not doing so.

    Date: i/3cs7J
                                       CLERK OF COURT

                                                                                               ORy\iiire
                                               Signature of clerk or Deputy Clerk                  ttorne

     The name, address, e-mail address, and telephone number of the attorney representing (naine’Iy)
     The Estate of Lisa Noble                                                  who issues or requests this subpoena, are:
    D. Randall Jewell, P. 0. Box 670, Barbourville, Kentucky 40906, randy@randyjewell.com, (606) 546-9714

                                    Notice to the person who issues or requests this subpoena
    If this subpoena commands the production of documents, electronically stored information, or tangible things before
    trial, a notice and a copy of the subpoena must be served on each party in this case before it is served on the person to
    whom it is directed. Fed. R. Civ. P. 45(a)(4).
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Civil Action No. 6:17-157-KKC

                                                     PROOF OF SERVICE
                     (This section should not be filed wi/li the court unless required by Fed. R. C’iv. P. 45.)

            I received this subpoena for (name of individual and title, f any,.l
On (date)


            J I served the subpoena by delivering a copy to the named individual as follows:


                                                                                     On (date)                     ; or

            EJ I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day’s attendance, and the mileage allowed by law, in the amount of
            $              56.56

My fees are $                                      for travel and S                      for services, for a total of S   0.00



            I declare under penalty of perjury that this information is true.


Date:
                                                                                            Server ‘s signature



                                                                                          Printed name and title




                                                                                             Server’s address

Additional information regarding attempted service, etc.:
p.   Case: 6:17-cv-00157-KKC-HAI Doc #: 31-1 Filed: 01/30/18 Page: 3 of 4 - Page ID#: 364
      Exhibit A to Toby Curry subpoena
      The Estate of Lisa Noble v. Beacon Transport, LLC and Terran Cooper
      Civil Action No. 6:17 -157-KKC



     Exhibit A Materials to Be Produced by Toby Curry relating to the motor vehicle collision
               -




     which occurred on January 5, 2017 at approximately 10:47 a.m. in Williamsburg, Whitley
     County, Kentucky, involving a tractor trailer operated by Terran Cooper, and owned by Beacon
     Transport LLC, having VIN # 4V4NC9EG6GN3 3619, and a Volkswagen Jetta owned and
     operated by Lisa Noble:


     1.      All photographs and taken by you or any other officer or any reconstructionist relating to
     this collision. This includes all photographs of the scene, involved vehicles/equipment, the
     roadway, involved drivers, witnesses, emergency responders, or any matter photographed or
     videotaped as part of the investigation of this collision.

     2.      All reports of lab work and/or testing done, including, but not limited to, blood alcohol
     tests performed on the driver, Terran Cooper.

     3.      All reports done regarding this collision, whether the reports are preliminary or final,
     including, but not limited to, any truck inspections and any Traffic Collision Reports.

     4.       All statements taken by you or any other officer, investigator or reconstructionist related
     to this collision, including any written statements or recorded statements regardless of the
     medium used to make the recording.

     5.    All other data of any and every kind captured relating to the collision on January 5, 2017,
     including total station mapping data and any data downloaded from any involved vehicle.

     6.     All notes, memoranda, reports stemming from and/or relating to the investigation.
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                             Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Place of Compliance.                                                                (i) disclosing a trade Secret or other confidential research, development,
                                                                                  or comntercial information; or
  (1) Fora Trial, Hearing. or Deposition. A subpoena may command a                     (ii) disclosing an unretained expert’s opinion or information that does
person to attend a trial, hearing, or deposition only as follows:                 not describe specific occurrences in dispute and results from the expert’s
   (A) within 100 miles of where the person resides, is employed, or              study that was not requested by a party.
regularly transacts business in person; or                                           (C) Specfying Conditions as an Alternative. In the circumstances
   (B) within the state where the person resides, is employed, or regularly       described in Rule 45(d)(3)(B), the court may, instead of quashing or
transacts business in person, if the person                                       modifying a subpoena, order appearance or production under specified
      (i) is a party or a party’s officer; or                                     conditions if the serving party:
      (ii) is commanded to attend a trial and would not incur substantial              (i) shows a substantial need for the testimony or material that cannot be
expense.                                                                          otherwise met without undue hardship; and
                                                                                       (ii) ensures that the subpoenaed person will be reasonabl compensated.
 (2) For Other Disco very. A subpoena may command:
  (A) production of documents, electronically stored information, or              (e) Duties in Responding to a Subpoena.
tangible things at a place within 100 miles of where the person resides, is
employed, or regularly transacts business iii person; and                          (I) Producing Documents or Electronically Stored Information. These
  (B) inspection of premises at the premises to be inspected.                     procedures apply to producing documents or electronically stored
                                                                                  information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                          (A) Documents. A person responding to a subpoena to produce documents
                                                                                  must produce them as they are kept in the ordinary course of business or
  (1) A voiding Undue Burden or Expense; Sanctions. A party or attomey            must organize and label them to correspond to the categories in the demand.
responsible for issuing and serving a subpoena must take reasonable steps            (B) Form for Producing Electronically Stored Information Not Spec/led.
to avoid imposing undue burden or expense on a person subject to the              If a subpoena does not specify a form for producing electronically stored
subpoena. The court for the district where compliance is required must            information, the person responding must produce it in a form or forms in
enforce this duty and impose an appropriate sanction—which may include            which it is ordinarily maintained or in a reasonably usable form or forms.
lost earnings and reasonable attorney’s fees—on a party or attorney who              (C) Electronically Stored Information Produced in Only One Form. The
fails to comply.                                                                  person responding need not produce the same electronically stored
                                                                                  information in more than one form.
 (2) C’o,n,naud to Produce Materials or Permit Inspection.                           (D) Inaccessible Electronically Stored Informaflon. The person
  (A) Appearance Not Required. A person commanded to produce                      responding need not provide discovery of electronically stored information
documents, electronically stored information, or tangible things, or to           from sources that the person identifies as not reasonably accessible because
permit the inspection of premises, need not appear in person at the place of      of undue burden or cost. On motion to compel discovery or for a protective
production or inspection unless also commanded to appear for a deposition,        order, the person responding must show that the information is not
hearing, or trial.                                                                reasonably accessible because of undue burden or cost. If that showing is
  (B) Objections. A person commanded to produce documents or tangible             made, the court may nonetheless order discovery from such sources if the
tlungs or to pemlit inspection may serve on the party or attomey designated       requesting party shows good cause, considering the limitations of Rule
in the subpoena a written objection to inspecting, copying, testing, or           26(b)(2)(C). The court may specify conditions for the discovery.
sampling any or all of the materials or to inspecting the premises—or to
producing electronically stored information in the form or forms requested.       (2) Claiming Privilege or Protection.
The objection must be served before the earlier of the time specified for          (A) Information Withheld. A person withholding subpoenaed information
compliance or 14 days after the subpoena is served. If an objection is made,      under a claim that it is privileged or subject to protection as trial-preparation
the following rules apply:                                                        material must:
     (i) At any lime, on notice to the commanded person, the serving party            (i) expressly make the claim; and
may move the court for the district where compliance is required for an               (ii) describe the nature of the withheld documents, communications, or
order compelling production or inspection.                                        tangible things in a manner that, without revealing information itself
     (ii) These acts may be required only as directed in the order, and the       privileged or protected, will enable the parties to assess the claim.
order must protect a person who is neither a party nor a party’s officer from       (B) Information Produced. If information produced in response to a
significant expense resulting from compliance.                                    subpoena is subject to a claim of privilege or of protection as
                                                                                  trial-preparation material, the person making the claim may notify any party
 (3) Quashing or Modifying a Subpoena.                                            that received the information of the claim and the basis for it. After being
                                                                                  notified, a party must promptly return, sequester, or destroy the specified
  (A) When Required. On timely motion, the Court for the district where           information and any copies it has; must not use or disclose the information
compliance is required must quash or modiFy a subpoena that:                      until the claim is resolved; must take reasonable steps to retrieve the
                                                                                  information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                              present the information under seal to the court for the district where
     (ii) requires a person to comply beyond the geographical limits              compliance is required for a determination of the claim. The person who
specified in Rule 45(c);                                                          produced the information must preserve the information until the claim is
     (iii) requires disclosure of privileged or other protected matter, ifno      resolved.
exception or waiver applies; or
     (iv) subjects a person to undue burden.                                      (g) Contempt.
  (B) When Permitted. To protect a person subject to or affected by a             The court for the district where compliance is required—and also, after a
subpoena. the court for the district where compliance is required may, on         motion is transferred, the issuing court—may hold in contempt a person
motion, quash or modify the subpoena if it requires:                              who, having been served, fails without adequate excuse to obey the
                                                                                  subpoena or an order related to it.


                                        For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).
